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               BEFORE THE UNITED STATES JUDICIAL PANEL
                    ON MULTIDISTRICT LITIGATION

                                                      MDL No. 3089
 IN RE: ORAL PHENYLEPHRINE
 MARKETING AND SALES
 PRACTICES LITIGATION


                             CERTIFICATE OF SERVICE
       I, Lauren S. Colton, counsel for Defendant RB Health (US) LLC, incorrectly sued as

“Reckitt Benckiser LLC”, hereby certify that on January 31, 2024, I caused the foregoing Notice

of Potential Tag-Along Action and this Certificate of Service to be electronically filed with the

Clerk of the Panel using the CM/ECF system, which constitutes service of pleadings on registered

CM/ECF participants via this Panel’s ECF filing system pursuant to Rule 4.1(a) of the Rules of

Procedure of the United States Judicial Panel on Multidistrict Litigation. I further caused and/or

will cause the Notice of Potential Tag-Along Action to be served via first-class mail to the

following:

Hadden et al. v. The Procter and Gamble Company et al., No. 3:24-cv-00035 (N.D. Fla.)
Counsel for Plaintiffs Haley Hadden and Bonnie Van Noy

BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
Rebecca D. Gilliland
301 St. Louis Street
Mobile, AL 36602
(251) 308-1515
Rebecca.gilliland@beasleyallen.com

Defendant: The Procter and Gamble Company
1 P&G Plaza
Cincinnati, OH 45202



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Defendant: Johnson and Johnson Consumer Companies, Inc.
c/o Corporation Service Company
1209 Orange Street
Wilmington, DE 19801




Dated: January 31, 2024                      Respectfully submitted,

                                             By: /s/ Lauren S. Colton
                                             Lauren S. Colton
                                             HOGAN LOVELLS US LLP
                                             100 International Drive
                                             Suite 2000
                                             Baltimore, MD 21202
                                             Telephone: (410) 659-2733
                                             Lauren.colton@hoganlovells.com

                                             Counsel for Defendant RB Health (US) LLC




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